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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------- X
                                       :
STEVEN LEBETKIN,                       :
                         Plaintiff,    :               18cv8170 (DLC)
               -v-                     :
                                       :             OPINION AND ORDER
AYSE GIRAY a/k/a SARA BARAN, LEWIS     :
SASSOON, ESQ., SASSOON & CYMROT, LLP, :
and JOHN DOES 1 through 25,            :
                                       :
                         Defendants.   :
                                       :
-------------------------------------- X

APPEARANCES

For the plaintiff:
Paul W. Verner
Verner Simon
30 Wall Street, 8th Floor
New York, New York 10005

For defendant Ayse Giray:
Michael H. Smith
Rosenberg Feldman Smith, LLP
551 Fifth Ave, 24th Floor
New York, New York 10176

For defendants Lewis Sassoon and Sassoon & Cymrot LLP:
Howard P. Magaliff
Rich Michaelson Magaliff, LLP
335 Madison Avenue, 9th Floor
New York, New York 10017

DENISE COTE, District Judge:

     Defendant Ayse Giray (“Giray”) has moved to dismiss the

Second, Eighth, and Tenth Causes of Action asserted against her

in the first amended complaint (“FAC”).       Defendants Lewis

Sassoon and Sassoon & Cymrot, LLP (collectively, “the Sassoon

Defendants”) have moved to dismiss the claims against them in
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their entirety.   For the reasons that follow, both motions are

granted.

                               Background

    The following facts are alleged in the FAC.          In 2006,

plaintiff Steven Lebetkin (“Lebetkin”) entered into a romantic

relationship with defendant Giray.       Giray is the former spouse

of non-party Hamdi Ulukaya (“Ulukaya”), who is the founder of

the successful Chobani yogurt brand.        During the course of their

relationship, Lebetkin became aware that Giray had, during her

marriage to Ulukaya, invested capital in Euphrates, Inc., which

was apparently a predecessor to Chobani, Inc.        Drawing upon his

experience as a former certified public accountant, Lebetkin

determined that Giray might have a legal claim to part ownership

of Euphrates, Inc. and Chobani, Inc. (collectively, “the Chobani

Entities,” and together with Ulukaya, “the Chobani Defendants”).

    Lebetkin discussed Giray’s legal options with her.           In May

2012, Giray promised Lebetkin that, in exchange for working on

her behalf to analyze her potential claims, to assess the value

of her potential stake in the Chobani Entities, and to “support

the lawsuit, including selecting and managing the appropriate

legal counsel,” he would be compensated for his services.

    In June 2012, Lebetkin contacted defendant Lewis Sassoon to

discuss Giray’s potential lawsuit.       Lewis Sassoon had been a

personal friend of Lebetkin’s for more than ten years, and the
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two had worked together previously on various business

transactions and litigation.         Also in June 2012, Lewis Sassoon

introduced Lebetkin and Giray to attorneys Richard B. Feldman

(“Feldman”) and Michael H. Smith at the New York firm of

Rosenberg Feldman Smith LLP, where Lewis Sassoon’s son, Stephen

J. Sassoon, was also an associate (collectively, “the RFS

Attorneys”).      Discussions began for Giray to retain the RFS

Attorneys and the Sassoon Defendants (collectively, “the Giray

Attorneys”) to represent her in her contemplated litigation

against the Chobani Defendants (“the Chobani Litigation”).                This

included discussions about Lebetkin’s role as a “litigation

consultant.”      It was agreed that the Giray Attorneys would

produce a complaint based on Lebetkin’s valuation of the Chobani

Entities.

       On July 16, 2012, Lebetkin and Giray entered into a formal

written contract delineating Lebetkin’s role in the Chobani

Litigation (“the Consulting Agreement”).1          The Sassoon Defendants

drafted the Consulting Agreement and reviewed it independently

with Lebetkin.      They specifically recommended that the

Consulting Agreement be interminable for the life of the Chobani

Litigation and that it not allow for unilateral termination by

Giray.     Lebetkin alleges that he understood the Sassoon


1   The Consulting Agreement is attached to the FAC as Exhibit C.

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Defendants to be representing him as his attorneys in the

drafting of the Consulting Agreement.       Defendant Lewis Sassoon

allegedly counseled Lebetkin regarding the terms of the

Consulting Agreement and assured Lebetkin that Sassoon & Cymrot

LLP would “be the paymaster of Lebetkin’s fees and would protect

them from any interference.”

     The Consulting Agreement provided that Lebetkin would

perform various services in relation to a potential lawsuit “in

connection with establishing Giray’s ownership interest to a

portion of the shares of stock” of the Chobani Entities.          These

services were to include “business consultation, review of

business records, and working with attorneys and accountants.”2

The Consulting Agreement provided that the parties “may amend

the scope of work in writing from time to time” and that “[n]o

changes or modifications or waivers to this Agreement will be

effective unless in writing and signed by both parties.”          In

exchange for his services, Lebetkin was to receive three percent

of any recovery Giray received from the contemplated lawsuit.


2 Lebetkin additionally alleges that the Consulting Agreement
provided that he would “manage” the Giray Attorneys, but no
provision to that effect appears in the Agreement. To the
extent that an oral agreement existed to that effect, it is
superseded by the integration clause of the Consulting
Agreement, which states that “This Agreement constitutes the
entire agreement of the parties hereto, and all previous
communications between the parties, whether written or oral with
reference to the subject matter of this Agreement, are hereby
canceled and superseded.”
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The Consulting Agreement further provided that it would

terminate “on the close or termination of the Law Suit or the

close of negotiations and settlement of the Law Suit.”

     Giray insisted that the Consulting Agreement with Lebetkin

be executed prior to the execution of two engagement letters

between her and the Giray Attorneys.       Those engagement letters

were executed on the same day.      On Giray’s behalf, Lebetkin

negotiated a thirty percent contingency fee arrangement with the

Giray Attorneys.    Lebetkin alleges that this reduction from the

“standard” 33 1/3 percent contingency fee was agreed to in order

to account for his 3 percent consulting fee.        Lebetkin further

alleges that Lewis Sassoon, after conferring with Feldman,

orally agreed on behalf of the Giray Attorneys to cap their fee

at $10 million.3

     Lebetkin alleges that he fully performed all of the

services contemplated under the Consulting Agreement, as well as

“other critical nondelineated services beyond the written scope

of work set forth in the Agreement.”       He valued Giray’s equity




3 The engagement letter between Giray and the RFS Attorneys makes
no mention of a fee cap, and specifically provides that the
letter “contains the entire agreement between [Giray] and the
Firm regarding the matters described herein and supersedes any
and all prior oral or written agreements.” Although that
document was not attached to Lebetkin’s complaint, it is
integral to the complaint and is properly considered at the
motion to dismiss stage. See Goel v. Bunge, Ltd., 820 F.3d 554,
559 (2d Cir. 2016).
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claim in Chobani and provided his analysis to the Giray

Attorneys.   The Giray Attorneys prepared a complaint and sent it

to Lebetkin for review and comments.

     During the course of preparing for the litigation, a series

of disputes arose between Lebetkin and the Giray Attorneys.            He

repeatedly urged the Giray Attorneys to contact attorneys for

the Chobani Defendants to attempt to negotiate a settlement

prior to the filing of a complaint.       The Giray Attorneys

declined to do so.    Lebetkin apparently warned Giray that her

attorneys “may be motivated to enter into a sustained process to

justify egregious legal fees.”      In July 2012, a dispute arose

between Lebetkin and the Giray Attorneys over the use in the

litigation of an affidavit of Adile Batuk, a personal friend of

Giray, which Lebetkin believed to be perjurious.         Lebetkin

alleges that the perjurious affidavit was procured by Giray’s

promise to pay Batuk $3 million from Giray’s recovery from the

lawsuit.   This was changed to five percent of the recovery at

some unspecified later date.      Lebetkin also disagreed with the

Giray Attorneys over “wrongful statements by Giray and Ulukaya

regarding the validity of their 1997 marriage,” and the omission

of certain information from the complaint regarding a Small

Business Administration loan made to Chobani.4


4 It appears that this information was ultimately included in the
complaint filed on Giray’s behalf in the New York Supreme Court.
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    Giray’s complaint was filed in the New York Supreme Court

on August 14, 2012.    Lebetkin’s disagreements with the Giray

Attorneys continued after the filing of the complaint.          Lebetkin

engaged in “extremely heated” discussions and emails with the

Giray Attorneys over whether to request production of documents

related to certain Small Business Administration loans from the

Chobani Defendants.    The Giray Attorneys did eventually request

these documents in response to Giray’s demand that they do so.

The Supreme Court ultimately ordered the Chobani Defendants to

produce these documents.

    Lebetkin’s ongoing conflict with the Giray Attorneys led

attorney Feldman to send Lebetkin an email in August 2012

threatening him with a restraining order if he did not cease and

desist advising and directing Giray with regard to the Chobani

Litigation.   During this time, Lebetkin’s relationship with

Giray apparently deteriorated, culminating in the end of their

romantic relationship in September 2012.        During August 2012,

defendant Lewis Sassoon allegedly “consoled” Lebetkin and told

him that he “had his (Lebetkin’s) back,” although he took no

action to interfere with Feldman on Lebetkin’s behalf.          He

specifically promised Lebetkin that he would travel to New York

from Boston once a week and would “make sure the case stayed on

track” and that Lebetkin would “stay informed.”

    On September 6, 2012, Feldman delivered to Lebetkin a
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letter signed by Giray unilaterally terminating the Consulting

Agreement.    Lebetkin alleges that this letter was procured by

Feldman through unspecified “tortious communications with

Giray,” and that defendant Lewis Sassoon, “either subsequently

tacitly or overtly joined” in Feldman’s tortious interference,

in an unspecified way.     Lebetkin alleges that the Sassoon

Defendants made “private assurances to Lebetkin that they would

protect his contract and fees,” but nonetheless failed to

intercede on his behalf.

     Settlement discussions between Giray and the Chobani

Defendants took place from 2012 through 2014, and apparently

deadlocked in July 2014.     Despite having received the September

6, 2012 termination letter and the deterioration of his

relationship with both Giray and her attorneys, Lebetkin

apparently continued to perform work related to the Chobani

Litigation.   He alleges that after July 2014 he “was

instrumental in bringing the parties together by focusing their

attention on litigation reality,” but does not provide further

details as to his role, or how he came to be involved in

settlement discussions.5     Giray and the Chobani Defendants

eventually reached a settlement on July 15, 2015.         Lebetkin




5 Elsewhere in the FAC, Lebetkin alleges that Lewis Sassoon acted
as a “liaison” between him and Giray up through the settlement
of the Chobani Litigation in July 2015.
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alleges, upon information and belief, that the Chobani

Defendants and Giray agreed to a two-part settlement package

worth several million dollars that is being paid in ongoing

installments, although he admits he does not know the value of

the settlement.

    Lebetkin thereafter made repeated demands to Giray, Lewis

Sassoon, and Feldman for payment of his fees pursuant to the

Consulting Agreement.    As of the time of filing, he has not

received any payment.

    The complicated procedural history of this case is laid out

in more detail in an Opinion and Order of October 26, 2018.            In

short, Lebetkin has raised several claims against Giray, the

Sassoon Defendants, the RFS Attorneys, and Adile Batuk in

various state and federal actions.       The original action

(18cv2211) in this dispute was filed in this Court by Lebetkin

on March 12, 2018, against Giray and the Sassoon Defendants.           On

March 26, a related action was filed in the New York Supreme

Court against Adile Batuk and the RFS Attorneys, asserting

claims for tortious interference with the Consulting Agreement,

among others.     On August 27, Lebetkin voluntarily dismissed his

initial action in this Court.      On September 6, Lebetkin re-filed

his complaint against Giray and the Sassoon Defendants in the

New York Supreme Court.     The defendants removed the case to this

Court the following day based on diversity of citizenship, and
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it was accepted as related to Lebetkin’s original action in this

Court.   On September 27, Lebetkin amended his complaint to add

as defendants the RFS Attorneys and Adile Batuk, who are

citizens of New York, and moved to remand the case to the New

York Supreme Court.    An Opinion and Order of October 26 denied

the motion to remand, severed the non-diverse defendants Adile

Batuk and the RFS Attorneys, and dismissed Lebetkin’s claims

against them without prejudice.

    The operative complaint asserts nine causes of action

against the remaining defendants.       Against Giray, Lebetkin has

asserted claims for breach of contract, breach of fiduciary

duty, unjust enrichment, quantum meruit, and prima facie tort.

Against the Sassoon Defendants, Lebetkin has asserted claims for

breach of fiduciary duty, professional malpractice, tortious

interference with existing contract, aiding and abetting breach

of fiduciary duty, unjust enrichment, and quantum meruit.

    On October 12, Giray moved to dismiss Lebetkin’s breach of

fiduciary duty, unjust enrichment, and prima facie tort claims

against her for failure to state a claim under Rule 12(b)(6),

Fed. R. Civ. P.   On the same date, the Sassoon Defendants moved

to dismiss the claims against them in their entirety, also

pursuant to Rule 12(b)(6).     Those motions became fully submitted

on November 14 and November 19, respectively.



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                              Discussion

    “To survive a motion to dismiss, a complaint must contain

sufficient factual matter, accepted as true, to state a claim to

relief that is plausible on its face.”       Cohen v. Rosicki,

Rosicki & Assocs., 897 F.3d 75, 80 (2d Cir. 2018) (citation

omitted).   A claim to relief is plausible when the factual

allegations in a complaint “allow[] the court to draw the

reasonable inference that the defendant is liable for the

misconduct alleged.”    Progressive Credit Union v. City of New

York, 889 F.3d 40, 48 (2d Cir. 2018) (citation omitted).

“[T]hreadbare recitals of the elements of a cause of action,

supported by mere conclusory statements, do not suffice.”

Carlin v. Davidson Fink LLP, 852 F.3d 207, 212 (2d Cir. 2017).

The plaintiff must plead enough facts to “nudge[] [his] claims

across the line from conceivable to plausible . . . .”         Bell

Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007).         When a

party moves to dismiss for failure to state a claim upon which

relief can be granted under Rule 12(b)(6), Fed. R. Civ. P., a

court must “accept all allegations in the complaint as true and

draw all inferences in the non-moving party’s favor.”         LaFaro v.

N.Y. Cardiothoracic Grp., PLLC, 570 F.3d 471, 475 (2d Cir. 2009)

(citation omitted).    “A complaint is deemed to include any

written instrument attached to it as an exhibit or any

statements or documents incorporated in it by reference.”
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Nicosia v. Amazon.com, Inc., 834 F.3d 220, 230 (2d Cir. 2016)

(citation omitted).

    I.    Defendant Ayse Giray

    Giray has moved to dismiss Lebetkin’s claims for breach of

fiduciary duty, unjust enrichment, and prima facie tort.          She

has not moved to dismiss Lebetkin’s claims for breach of

contract and quantum meruit.

          A. Breach of Fiduciary Duty

    Under New York law,6 the elements of a claim for a breach of

a fiduciary obligation are: “(i) the existence of a fiduciary

duty; (ii) a knowing breach of that duty; and (iii) damages

resulting therefrom.”    Spinelli v. Nat’l Football League, 903

F.3d 185, 207 (2d Cir. 2018) (citation omitted).        “A fiduciary

relationship exists under New York law when one person is under

a duty to act for or to give advice for the benefit of another


6 The parties agree that New York law applies to Lebetkin’s
claims. As a New York federal court sitting in diversity
jurisdiction, this Court applies the choice of law rules of New
York. See, Cap Gemini Ernst & Young, U.S. LLC v. Nackel, 346
F.3d 360, 366 (2d Cir. 2003) (citation omitted). In tort
actions, New York courts “seek to apply the law of the
jurisdiction with the most significant interest in, or
relationship to, the dispute.” White Plains Coat & Apron Co.,
Inc. v. Cintas Corp., 460 F.3d 281, 284 (2d Cir. 2006) (citation
omitted). All of the events at issue occurred in New York, and
the underlying Chobani Litigation was conducted in New York
courts. Additionally, both Lebetkin and Giray were New York
residents during the relevant time period. Finally, each of the
parties has relied on New York law in addressing this motion.
See Arch Ins. Co. v. Precision Stone, Inc., 584 F.3d 33, 39 (2d
Cir. 2009).
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upon matters within the scope of the relation.”        Id. (citation

omitted).   “It exists only when a person reposes a high level of

confidence in another, who thereby exercises control and

dominance over him.”    People v. Coventry First LLC, 13 N.Y.3d

108, 115 (2009).

    Lebetkin has not adequately pleaded that Giray owed him a

fiduciary obligation.    The FAC makes clear that Giray and

Lebetkin had a contractual relationship.       The fact of their

romantic involvement does not convert their contractual

relationship into a fiduciary obligation.        Nothing on the face

of the Consulting Agreement or the circumstances surrounding its

adoption suggests that Giray owed Lebetkin any legal duties

independent of her obligations under the Consulting Agreement.

If anything, the facts alleged in the FAC indicate that Giray

was the weaker party, over whom Lebetkin exercised “control and

dominance.”    Because Lebetkin has failed to adequately plead

that Giray owed him a fiduciary duty, his claims against her for

breach of that duty are dismissed.

            B. Unjust Enrichment

    “To prevail on a claim for unjust enrichment in New York, a

plaintiff must establish (1) that the defendant benefitted; (2)

at the plaintiff’s expense; and (3) that equity and good

conscience require restitution.”        Beth Israel Med. Ctr. V.

Horizon Blue Cross and Blue Shield of New Jersey, Inc., 448 F.3d
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573, 586 (2d Cir. 2006) (citation omitted).        The theory of

unjust enrichment, however, “lies as a quasi-contract claim.           It

is an obligation the law creates in the absence of any

agreement.”    Id. (citation omitted) (emphasis in original).          “It

is impermissible . . . to seek damages in an action sounding in

quasi contract where the suing party has fully performed on a

valid written agreement, the existence of which is undisputed,

and the scope of which clearly covers the dispute between the

parties.”   Id. at 587(citation omitted).

    Lebetkin has alleged that he fully performed his

obligations under the Consulting Agreement, no defendant

disputes the existence of the Agreement, and the scope of the

agreement covers the dispute here.      Accordingly, Lebetkin’s

unjust enrichment claim against Giray is dismissed.

            C. Prima Facie Tort

    “To state a legally cognizable claim for prima facie tort,

a plaintiff must allege (1) the intentional infliction of harm,

(2) which results in special damages, (3) without any excuse or

justification, (4) by an act or series of acts which would

otherwise be lawful.”     Posner v. Lewis, 18 N.Y.3d 566, 570 n.1

(2012) (citation omitted); see also Twin Labs., Inc. v. Weider

Health & Fitness, 900 F.2d 566, 571 (2d Cir. 1990) (citation

omitted).     Additionally, “there can be no recovery under this

theory unless malevolence is the sole motive for defendant’s
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otherwise lawful act or, in other words, unless defendant acts

from disinterested malevolence.”        Posner, 18 N.Y.3d at 570 n.1

(citation omitted).    Motives “such as profit, self-interest, or

business advantage will defeat a prima facie tort claim.”          Twin

Labs., 900 F.2d at 571 (citation omitted).

    Lebetkin has not plausibly alleged that Giray’s sole motive

in terminating the Consulting Agreement was “disinterested

malevolence.”   The FAC alleges that Giray terminated the

agreement after her romantic relationship with Lebetkin ended

and after he repeatedly contradicted and challenged her

attorneys’ legal advice.    Although Lebetkin has made conclusory

allegations that Giray “determined to engage in intentional

infliction of harm,” he has not pled any facts to support that

inference.   The facts Lebetkin has pled indicate that Giray’s

termination of the Consulting Agreement was motivated by self-

interest rather than a bare desire to harm Lebetkin.

    Further, Lebetkin has failed to plead special damages as

required to sustain a cause of action for prima facie tort.            See

Freihofer v. Hearst Corp., 65 N.Y.2d 135, 143 (1985) (“A

critical element of the cause of action [of prima facie tort] is

that plaintiff suffered specific and measurable loss, which

requires an allegation of special damages.”).        The only damages

he pleads are the general damages arising from Giray’s alleged

breach of the Consulting Agreement.       In his opposition to this
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motion, Lebetkin admits that he has not pleaded special damages,

but argues that the Court should excuse his failure to do so.

That argument is meritless.

    Lebetkin’s prima facie tort claim is additionally barred by

the statute of limitations.     Lebetkin does not dispute that the

statute of limitations for prima facie tort in New York is three

years.   See C.P.L.R. § 214.    The Consulting Agreement was

terminated on September 6, 2012, and this case was initially

filed on March 12, 2018, five and a half years later.

Accordingly, Lebetkin’s prima facie tort claim against Giray may

be dismissed on that ground alone.      See Akassy v. Hardy, 887

F.3d 91, 95 (2d Cir. 2018) (collecting cases holding that

dismissal pursuant to Rule 12(b)(6) is appropriate where the

dates in the complaint show the action is barred by the statute

of limitations).

    II.    Lewis Sassoon and Sassoon & Cymrot, LLP

           A. Breach of Fiduciary Duty and Professional

             Malpractice

     “Under New York law, where a claim for breach of fiduciary

duty is premised on the same facts and seeking the identical

relief as a claim for legal malpractice, the claim for fiduciary

duty is redundant and should be dismissed.”        Nordwind v.

Rowland, 584 F.3d 420, 432-33 (2d Cir. 2009) (citation omitted).

Lebetkin has brought a claim for professional malpractice
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arising from the same series of acts, and his claim for breach

of fiduciary duty is therefore redundant.

    In any event, both claims are barred by the applicable

three year statute of limitations.        See C.P.L.R. § 214.

Lebetkin does not dispute that, in New York, “an action to

recover damages for malpractice, other than medical, dental, or

podiatric malpractice, regardless of whether the underlying

theory is based in contract or tort” must be commenced within

three years.    C.P.L.R. § 214(6).      A claim for legal malpractice

accrues when the malpractice is committed, not when the client

discovers it.   Shumsky v. Eisenstein, 96 N.Y.2d 164, 166 (2001).

The Consulting Agreement was terminated on September 6, 2012,

and this case was initially filed on March 12, 2018, five and a

half years later.

    Additionally, Lebetkin has not pleaded sufficient facts to

state a plausible claim for breach of fiduciary duty or

professional malpractice.     “In order to prevail on a claim of

legal malpractice under New York law, a client must demonstrate

that the attorney was negligent, that the negligence was a

proximate cause of the injury and that the client suffered

actual and ascertainable damages.”        Rubens v. Mason, 387 F.3d

183, 189 (2d Cir. 2004) (citation omitted).        Establishing

attorney negligence requires demonstrating that the attorney

owed a duty to the particular plaintiff.       Thus, “[i]f
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plaintiff[] and defendants were never in an attorney-client

relationship . . . the claim for malpractice must fail.”          Latin

Am. Fin. Grp., Inc. v. Pareja, 04cv10082 (DLC), 2006 WL 2032627,

at *7 (S.D.N.Y. July 19, 2006) (applying New York law).          The

existence of an attorney-client relationship depends on a number

of factors, including:

    1) whether a fee arrangement was entered into or a fee
    paid; 2) whether a written contract or retainer
    agreement exists indicating that the attorney accepted
    representation; 3) whether there was an informal
    relationship whereby the attorney performed legal
    services gratuitously; 4) whether the attorney
    actually represented the individual in an aspect of
    the matter (e.g., at a deposition); 5) whether the
    purported client believed that the attorney was
    representing him and whether this belief was
    reasonable. With respect to the last criterion, New
    York courts have observed that one party’s unilateral
    beliefs and actions do not confer upon him or her the
    status of client.

Id. at *7-8 (citation omitted).

    Lebetkin has not plausibly alleged that he had an attorney-

client relationship with the Sassoon Defendants.        He admits that

part of his role as “litigation consultant” was to introduce

Giray to attorneys to represent her in contemplated litigation

against the Chobani Defendants.      He introduced her to the

Sassoon Defendants.    As described in the FAC, his interaction

with the Sassoon Defendants was in connection with the Chobani

Litigation and in his capacity as Giray’s representative.          The

fact that the Sassoon Defendants reviewed the Consulting


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Agreement with Lebetkin beforehand does not establish that they

“represented” him in the negotiation of that Agreement.

Although a written retainer agreement is not strictly necessary

to establish an attorney-client relationship, it is telling that

the Sassoon Defendants executed a letter of engagement with

Giray, but not with Lebetkin, and that Giray’s letter of

engagement was executed on the same day as the Consulting

Agreement.    Nor did Lebetkin pay any fee to the Sassoon

Defendants.    The facts alleged in the FAC indicate that Giray

was the Sassoon Defendants’ client, and that the Sassoon

Defendants did not also have an attorney-client relationship

with Lebetkin, who was Giray’s boyfriend and consultant.7

     Additionally, Lebetkin has not adequately explained what

the Sassoon Defendants did -- or failed to do -- that

constitutes a breach of whatever duty they might have owed him.

He has alleged that they failed to intercede on his behalf with

Giray and with their co-counsel in the Chobani Litigation, and

that they failed to “protect” his fees.       These general,

conclusory allegations fall short of Lebetkin’s pleading burden.

Accordingly, his claims for breach of fiduciary duty and




7 The plausibility of Lebetkin’s claim that the Sassoon
Defendants undertook “dual representation” of both him and Giray
is significantly undermined by the fact that such an arrangement
would likely have been ethically impermissible. See N.Y. Rule
of Prof. Con. 1.7.
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professional malpractice are dismissed.

            B. Tortious Interference with Existing Contract

    To establish tortious interference with an existing

contract under New York law, “a plaintiff must show (1) the

existence of a valid contract between plaintiff and a third

party; (2) the defendant’s knowledge of that contract; (3) the

defendant’s intentional procuring of the breach, and (4)

damages.”    White Plains Coat & Apron Co., 460 F.3d at 285

(citation omitted).     Lebetkin has failed to plausibly plead that

the Sassoon Defendants intentionally procured Giray’s breach of

the Consulting Agreement.     He alleges, in a conclusory fashion,

that the Sassoon Defendants joined in a conspiracy to

intentionally and deliberately cause Giray to breach the

Consulting Agreement.    He does not specify what the Sassoon

Defendants did to induce this breach, or indeed any facts at all

to support his claim.    Accordingly, his claim against the

Sassoon Defendants for tortious interference with contract is

dismissed.

            C. Aiding and Abetting Breach of Fiduciary Duty

    Under New York law, the three elements of aiding and

abetting a breach of fiduciary duty are:       (i) “a breach by a

fiduciary of obligations to another, of which the aider and

abettor had actual knowledge,” (ii) “that the defendant

knowingly induced or participated in the breach,” and (iii)
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“that plaintiff suffered damage as a result of the breach.”            In

re Sharp Int’l Corp., 403 F.3d 43, 49 (2d Cir. 2005) (citation

omitted); see also Lerner v. Fleet Bank, N.A., 459 F.3d 273, 294

(2d Cir. 2006) (citation omitted).      As discussed above, there is

no viable claim of a fiduciary relationship between Giray and

Lebetkin.   Accordingly, Lebetkin’s cause of action against the

Sassoon Defendants for aiding and abetting Giray’s breach of

fiduciary duty is dismissed.

            D. Unjust Enrichment and Quantum Meruit

    Unjust enrichment and quantum meruit are not separate

causes of action, and may be analyzed together as a single quasi

contract claim.   Mid-Hudson Catskill Rural Migrant Ministry,

Inc. v. Fine Host Corp., 418 F.3d 168, 175 (2d Cir. 2005).             The

elements of a cause of action for unjust enrichment under New

York law are set forth above.     Similarly, “[i]n order to recover

in quantum meruit under New York law, a claimant must establish

(1) the performance of services in good faith, (2) the

acceptance of the services by the person to whom they are

rendered, (3) an expectation of compensation therefor, and (4)

the reasonable value of the services.”       Id. (citation omitted).

Lebetkin has failed to state a claim for unjust enrichment or

quantum meruit because he has failed to plausibly allege that

the Sassoon Defendants benefited at his expense or accepted

services from him.    The only parties to the Consulting Agreement
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were Lebetkin and Giray, and Lebetkin’s services were to be

performed for Giray’s benefit, not for the benefit of the

Sassoon Defendants.    Further, the FAC contains no allegation

that Lebetkin expected any compensation from the Sassoon

Defendants for services he rendered to Giray.

                              Conclusion

    Both October 12, 2018 motions to dismiss are granted.              All

of the claims in the FAC against defendants Lewis Sassoon and

Sassoon & Cymrot LLP are dismissed.      Counts two, eight, and ten

of the FAC against defendant Ayse Giray are dismissed.


Dated:    New York, New York
          December 14, 2018




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